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EXHIBIT
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

www.flsb.uscourts. gov

In re:

OCEANROAD GLOBAL SERVICES LIMITED, Chapter 15
Case No.:

Debtor in a Foreign Proceeding.
/

 

DECLARATION OF THE FOREIGN REPRESENTATIVE IN SUPPORT OF
CHAPTER 15 PETITION FOR RECOGNITION OF A FOREIGN MAIN PROCEEDING

I, Colin Diss, as one of the joint liquidators of Oceanroad Global Services Limited
(“Qceanroad” or “Debtor’’), hereby declare under penalty of perjury under the laws of the United
States as follows:

1. This declaration is submitted in support of the Chapter 15 Petition for Recognition
of a Foreign Proceeding pending in the United Kingdom.

2. I am over the age of 18 and, if called upon, could competently testify as to all
matters set forth in this Declaration based upon my own personal knowledge, except for those
parts specified as being otherwise. Where matters are based on information supplied to me, those
matters are true to the best of our information, knowledge, and belief, and I clearly identify the
source of that knowledge.

3. I am a licensed insolvency practitioner with Grant Thornton UK LLP. Together
with my colleagues Nicholas Wood and Michael Leeds, I was appointed as a Joint Liquidator
(collectively, the “Joint Liquidators” or “Foreign Representatives”) in the creditors’ voluntary

liquidation of Oceanroad.! As described more fully herein, Oceanroad was placed into members’

 

'T am authorised by my fellow Joint Liquidators to make this statement on behalf of the Joint
Liquidators.
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voluntary liquidation on October 26, 2020 by its members’ resolution to wind up Oceanroad,
which was subsequently converted to a creditors’ voluntary liquidation. The status of the
liquidation and the Joint Liquidators’ appointment in the same was confirmed by an order of the
judge of the High Court of Justice Business and Property Courts in Manchester Insolvency and
Companies List (ChD) (“UK Court’) dated April 14, 2021 (“UK Proceeding”). A copy of the

order (the “Liquidation and Appointment Order’) is attached as Exhibit A.

 

4. The Foreign Representatives took office as the joint liquidators for Oceanroad
pursuant to the resolution of creditors at a meeting duly convened for that purpose on February 10,
2021, as described more fully in paragraph 17 herein. The Foreign Representatives have acted in
the capacity as joint liquidators in the UK Proceeding continuously since Oceanroad gave notice
of their appointments to Companies House in the UK on February 11, 2021.

5. We are advised that within the meaning of chapter 15 of the US Bankruptcy Code:
(1) the Joint Liquidators are the “foreign representatives” of the Debtor; (ii) the Debtor’s center of
main interests has, at all times relevant, been in England and Wales; and (111) the UK Proceeding
is a “Foreign Main Proceeding”.

Factual Background

6. Oceanroad is a private limited company incorporated in the United Kingdom on
August 24, 2005 as “Oceanroad Limited” with company number 05545539. Its registered office
was located at 19 Leyden Street, London El 7LE, United Kingdom when its liquidation began,
having previously maintained a different registered office in London. As of the date of this
Declaration, the Foreign Representatives are unaware of any evidence that Oceanroad conducted
the administration of its affairs other than from its registered office or that it had any establishment

or place of business outside England and Wales.
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7. In accordance with documentation filed at Companies House,” Oceanroad was
considered to be a dormant company up to the year ending December 31, 2007. The financial
statements for the year ending December 31, 2008 indicate that it commenced operations in 2008
and describe its principal activity to be that of an agent providing various business development,
analysis, advisory, and consulting services.

8. The sole director and member of Oceanroad at its incorporation was Chalfen
Nominees Limited (“Chalfen”). Amicorp (UK) Directors Limited (“Amicorp Directors”) replaced
Chalfen as director on August 24, 2005. Chalfen’s share was transferred to Amicorp (UK)
Nominees Limited (“Amicorp Nominees”) on November 3, 2008 and Amicorp Nominees was
subsequently allotted one further share. Hansamercator Ltd replaced Amicorp Nominees as
shareholder on November 14, 2008 and held these shares until January 16, 2018. From January
16, 2018 up until the time Oceanroad went into liquidation, its sole shareholder was Leslie Steven
Scheltens, who held two shares. Leslie Steven Scheltens has been noted at Companies House as
the person with significant control, with effect from January 16, 2018.

9. Amicorp Directors terminated its appointment as director on November 18, 2008
and Paul Kythreotis and Michael Brian Price were appointed as directors on that date. Paul
Kythreotis subsequently resigned on July 1, 2011. Michael Brian Price later resigned on December
31, 2013, the same day on which Kwok Tung Lee was appointed as director. Following this, Carol
Joy Smit was appointed as director on December 1, 2014. Kwok Tung Lee then resigned on
November 28, 2016 and Santiago Barot was appointed director on the same day. Carol Joy Smit

then resigned on December 12, 2016 leaving Santiago Barot as the sole director. Santiago Barot

 

2 Companies House is an administrative governmental entity performing a registration and
recordkeeping function similar to the Corporate Division of the Department of State for most U.S.
states.
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remains in office as the current sole director.
Commencement of the UK Proceeding and Appointment of the Joint Liquidators

10. Oceanroad is presently in creditors’ voluntary liquidation due to its inability to pay
its debts and its apparent participation in a multinational fraud scheme, as described more fully
herein. Formerly, however, Oceanroad was in members’ voluntary liquidation.

11. On October 21, 2020, Oceanroad’s director, Mr. Santiago Barot, made a statutory
declaration of solvency pursuant to section 89(3) of the Insolvency Act 1986,? to the effect that all
of Oceanroad’s debts would be paid in full, together with statutory interest, within 12 months of
the commencement of the liquidation.

12. On October 26, 2020, a requisite majority of Oceanroad’s members passed the
following written resolutions:

a. That Oceanroad be wound up voluntarily;

b. That Mr. Shane Biddlecombe and Mr. Gordon Johnston (together, the “MVL
Liquidators”) be appointed as joint liquidators of Oceanroad for the purposes
of the voluntary winding up; and

c. That the MVL Liquidators be authorised to divide among the members of
Oceanroad in specie part or the whole of the assets of Oceanroad and may, for
that purpose, value any assets and determine how the division between
members should be carried out.

13. On November 3, 2020, the MVL Liquidators filed a notice recording their

appointment as liquidators of Oceanroad in the members’ voluntary liquidation at Companies

 

3 Mr. Barot was Oceanroad’s sole director from November 28, 2016 onward. In his statutory
declaration of solvency, he listed his address as 64 Evans Wharf, Hemel Hempstead, Hertfordshire,
HP3 9WN, United Kingdom.
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House.

14. Later, on December 3, 2020, Standard Chartered Bank and Standard Chartered
Bank (India) (together, “SCB”) served on Oceanroad and the MVL Liquidators an Amended Claim
Form, issued by SCB in the High Court of Justice, Business and Property Courts of England and
Wales, Queen’s Bench Division, Commercial Court (the “Commercial Court’) on August 5, 2020
and amended on November 30, 2020, against Oceanroad with claim number CL-2020-000503 (the
“Claim Form’). The amount claimed by SCB pursuant to the Claim Form was USD
66,491,888.97. SCB also served on the MVL Liquidators proofs of debt in Oceanroad’s
liquidation.

15. In the Claim Form, SCB alleges that Oceanroad took part in laundering the
proceeds of a significant, complex, and multinational fraud believed to have been committed
against SCB (and other banks) originating with one of its customers, Winsome Diamonds and
Jewellery Limited (“Winsome”). SCB claims that it advanced gold bullion to Winsome pursuant
to a Precious Metal Facility Agreement, Winsome defaulted on its obligations under the
agreement, and Winsome sold the gold and dissipated and/or laundered the sales proceeds.
According to SCB, Winsome transferred the sales proceeds to companies based in the United Arab
Emirates, which were purportedly jewelry distributors (the “UAE Companies”). SCB alleges that
the UAE Companies subsequently entered into sham derivative contracts with Oceanroad and five
other UK companies and one Irish company (the “Derivative Companies”), respectively, that were
designed to allow those responsible for the fraudulent scheme to move, conceal, and/or launder
funds through the Derivatives Companies. Specifically, Oceanroad purportedly entered into a
sham derivative contract with one of the UAE Companies, Al Mufied Jewellery FZC (“Al

Mufied”). The Claim Form mentions England and Wales, India, the United Arab Emirates, and
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the United States of America as jurisdictions where the alleged fraud scheme took place. The
Foreign Representatives anticipate from their work to date that information and documents
relevant to the alleged fraud scheme exist in other jurisdictions as well.

16. | Oceanroad did not file an Acknowledgment of Service in response to the Claim
Form in accordance with Civil Procedure Rule (CPR) 58.6(2). As a result, on December 30, 2020,
SCB applied for judgment in default for an amount of money to be decided by the Court pursuant
to CPR 58.8(1) and CPR 12.4(1)(b). On January 16, 2021, the Commercial Court made an Order
pursuant to which (inter alia) judgment was entered against Oceanroad for an amount of money to
be decided by the Court (the “Default Judgment’).

17. On January 27, 2021, following service of the Default Judgment on the MVL
Liquidators, the MVL Liquidators sent a letter to Oceanroad’s creditors advising that (1)
Oceanroad would be unable to pay its debts in full within the period stated in the statutory
declaration made by its director, and, therefore, (2) the solvent liquidation would be converted into
an insolvent one through a creditors’ voluntary liquidation. The letter also advised of a virtual
meeting where the creditors would decide, among other things, on a new creditor-nominated
liquidator and the release of the MVL Liquidators. The virtual creditors’ meeting took place on
February 10, 2021, where the creditors resolved to nominate the Foreign Representatives as the
joint liquidators and release the MVL Liquidators.

18. On February 11, 2021, Oceanroad gave notice at Companies House of the Foreign
Representatives’ appointment as the joint liquidators in Oceanroad’s creditors’ voluntary
liquidation.

19. — As previously stated, the UK Court handed down the Liquidation and Appointment

Order on April 14, 2021, which order confirms that the Foreign Representatives “are validly and
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effectively appointed” as Oceanroad’s joint liquidators and are authorized to administer the
liquidation of Oceanroad’s assets and affairs and act as Oceanroad’s representative in the creditors’
voluntary liquidation. Ex. A {ff 2, 5.

20. The primary objective of the Foreign Representatives’ appointment is to investigate
Oceanroad’s alleged involvement in the scheme described by SCB, with a view to identifying and
realizing assets for Oceanroad’s creditors. To that end, and as a first step, the Foreign
Representatives seek foreign main recognition under chapter 15 of the US Bankruptcy Code with
the intention of seeking information and documents located in the US including, in particular,
evidence in relation to funds that passed through Oceanroad’s accounts and subsequently flowed
through the accounts of several other entities. The Foreign Representatives anticipate that such
information and documents will be held by US financial institutions under the jurisdiction of the
US Court. The Foreign Representatives expect that forensic analysis of this information, in
particular payment flows and counterparties, will enable them to begin investigating the alleged
scheme and identifying further lines of enquiry both in the US and other jurisdictions.

21. — Following the Joint Liquidators’ appointment books and records were obtained
from Oceanroad’s director, which included accounting records showing thirty (30) payments
totaling USD 156,034,344 being made by Oceanroad to a UK company called Docklands
Investment Limited (“Docklands”). These payments immediately followed receipts on either the
same day or previous day for exactly the same amount from a UAE company, Al Mufied.
Oceanroad’s cashbook included the same deal name for each of the receipts from Al Mufied and
the payment to Docklands in the same amount. In the books and records delivered up by the
Director of Oceanroad is a Power of Attorney signed by Michael Price (then the director of

Oceanroad) and dated 2 January 2012. This Power of Attorney authorizes Mathew Hart to enter
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into and execute agreements with Al Mufied on behalf of Oceanroad. In the documents delivered
up to the Joint Liquidators to date, the Joint Liquidators have located no other documents
evidencing the receipts from Al Mufied and payments to Docklands or which reference other
documents which might evidence them. Both Oceanroad and Docklands had the same Cypriot
based parent company, Hansamercator Ltd, and a common director at incorporation, Chalfen. The
Joint Liquidators have found no documentary evidence to explain why the payments were made
nor any written agreement between Oceanroad and Docklands or Oceanroad and Al Mufied for
that matter. As such, the Joint Liquidators intend to use discovery under chapter 15 to trace the
funds sent by Oceanroad to Docklands.

Debtors Have a Domicile, Place of Business, or Property in the United States

22. As the joint liquidators of Oceanroad, the Foreign Representatives have been
charged to investigate Oceanroad’s business, assets, affairs, rights, obligations, and liabilities, both
in the UK and worldwide. The investigation has revealed that assets of the Debtor may be located
in or have passed through the United States.

23. The Foreign Representatives seek recognition of the UK Proceeding in furtherance
of a worldwide pursuit of assets with which to satisfy unpaid claims as well as to investigate,
identify, and marshal assets for the benefit of creditors. This includes pursuing any available
causes of action.

24. The Foreign Representatives have retained Sequor Law, P.A. (“Sequor Law’).
Sequor Law holds in its trust account in this District US$ 1,500 deposited by the Foreign
Representatives on behalf of and for the benefit of the Debtor, to which funds Sequor Law has no

rights of setoff, charging lien, or similar right.
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Joint Liquidators in Foreign Proceedings of the Debtor

25. As the joint liquidators, the Foreign Representatives are authorized in the UK
Proceeding to administer the liquidation of the Debtor’s assets and affairs and to act as
representatives of the UK Proceeding.

26. As the term is defined in 11 U.S.C. 101(23), the UK Proceeding is a “foreign
proceeding” because it is a collective judicial proceeding governed by the Insolvency Act 1986, a
law relating to insolvency or adjustment of debt, in which proceeding the Debtor’s assets and
affairs are subject to the control or supervision of the UK Court for the purpose of liquidation.

27. The Foreign Representatives’ address in that capacity is:

Attn: Nicholas Wood, Colin Diss, and Michael Leeds
c/o Grant Thornton UK LLP
30 Finsbury Square
London
EC2A 1AG
United Kingdom

28. For purposes of this proceeding, the Foreign Representatives request that any

correspondence be sent, in addition to the address provided above, to:
Attn: Edward H. Davis, Jr., Gregory S. Grossman, Nyana Miller, and Carolina Z. Goncalves
Sequor Law, P.A.
1111 Brickell Avenue, Suite 1250
Miami, Florida 33131
Parties to any U.S. Litigation in which the Debtor is a Party

29. The Foreign Representatives are not aware of any litigation pending in the United
States in which the Debtor is a party.

Entities Against Whom Provisional Relief is Being Sought Under § 1519 of the Code

30. The Foreign Representatives are not seeking provisional relief under § 1519 of the

Bankruptcy Code.
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Statement Identifying Foreign Proceedings With Respect to the Debtor
31. Other than the UK _ Proceeding referenced hereinabove, the Foreign

Representatives are not aware of any other foreign proceedings with respect to the Debtor.

[This space has been intentionally left blank. ]

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I, Colin Diss, declare under penalty of perjury under the laws of the United States of
America, 28 U.S.C. §1746, that I am the court-appointed Joint Liquidator for Oceanroad Global
Services Limited and that, in such capacity, I have the authority to make this Declaration; that I
have read the foregoing Declaration; and that the facts and matters alleged and contained herein
are true and correct to the best of my knowledge and belief, based upon my own personal
knowledge of the facts involved and upon my review of the available documents pertaining to

Oceanroad Global Services Limited.
ed Kingdom on H June, 2021

    

or,

Executed in Vide I

Colin !iss — as Joint Liquidator for Oceanroad Global
Services Limited in the UK Proceeding

Signature Page to Declaration of Foreign Representative in Support of
Chapter 15 Petition for Recognition of Foreign Proceeding
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EXHIBIT
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IN THE HIGH COURT OF JUSTICE
BUSINESS AND PROPERTY COURTS IN MANCHESTER
INSOLVENCY AND COMPANIES LIST (ChD)

BEFORE: DISTRICT JUDGE OBODAI

ON: 14 APRIL 2021 CR-2021-MAN-00021 4

IN THE MATTER OF THE INSOLVENCY ACT 1986
AND IN THE MATTER OF OCEANROAD GLOBAL SERVICES LIMITED (IN
LIQUIDATION)

 

BETWEEN

NICHOLAS STEWART WOOD, COLIN DISS, AND MICHAEL THOMAS LEEDS APPLICANTS
(as Joint Liquidators of Oceanroad Global Services Limited (In Liquidation))

 

ORDER

 

UPON the application of Nicholas Stewart Wood, Colin Diss, and Michael Thomas Leeds (the “Liquidators” ) as
Joint Liquidators of Oceanroad Global Services Limited (In Liquidation) (“the Company”) dated 13 April 2021,
made pursuant to Section 112 of the Insolvency Act 1986 (the “Application” )
AND UPON reading the First Witness Statement of Colin Diss dated 13 April 2021
IT IS ORDERED AND DECLARED that:

1. the Company is duly subject to creditors’ voluntary liquidation pursuant to the Insolvency Act 1986;

2. the Liquidators are validly and effectively appointed as joint liquidators of the Company;

3. the Liquidators have the powers in relation to the Company set out at Schedule 4 to the Insolvency Act
1986;

4, the creditors’ voluntary liquidation of the Company is a collective insolvency proceeding, pursuant to a
law relating to insolvency, in which the assets and affairs of the Company are under the control of the
Liquidators subject to the supervision of the High Court of Justice of England and Wales, for the
purpose of liquidation;

5. the Liquidators are individuals authorised to administer the liquidation of the Company’s assets and
affairs and to act as the representative of the Company in creditors’ voluntary liquidation; and

6. the Company’s centre of main interests is located in England and Wales.
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Case No:

IN THE HIGH COURT OF JUSTICE
BUSINESS AND PROPERTY COURTS IN MANCHESTER
INSOLVENCY AND COMPANIES LIST (ChD)

 

IN THE MATTER OF THE INSOLVENCY ACT 1986
AND IN THE MATTER OF OCEANROAD GLOBAL SERVICES LIMITED (IN
LIQUIDATION)

BETWEEN

NICHOLAS STEWART WOOD, COLIN DISS, AND MICHAEL THOMAS LEEDS APPLICANTS
(as Joint Liquidators of Oceanroad Global Services Limited (In Liquidation))

 

ORDER

 

Service of the order
The court has provided a sealed copy of this order to the serving party:

Eversheds Sutherland (International) LLP
70 Great Bridgewater Street

Manchester

M1 5ES

REF: PARRYT/147153.000276

Tel.: 0161 831 8096

Email:
jamieleader@eversheds-sutherland.com
tomparry@eversheds-sutherland.com

 

Solicitors for the Applicants

 
